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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 DENIS MARC AUDET, et al.,                          Civil Action No. 3:16-cv-00940

                                Plaintiffs,         Honorable Michael P. Shea

                      vs.

 STUART A. FRASER, GAW MINERS,                      June 13, 2018
 LLC, and ZENMINER, LLC,

                                Defendants.

            DEFENDANT STUART A. FRASER’S MEMORANDUM OF LAW
               IN SUPPORT OF MOTION TO COMPEL DISCOVERY

       Defendant Stuart A. Fraser (“Fraser”) seeks an order from the Court compelling Plaintiffs

to produce contemporaneous notes taken by one of their representatives at a 2016 meeting with

former lead defendant Homero Joshua Garza (“Garza”), a conversation on which Plaintiffs base

many of their allegations in the First Amended Complaint (the “Complaint”). Plaintiffs readily

admit that they dismissed their claims against Garza after he provided them with information on

which they relied to draft their First Amended Complaint, and Garza remains the key witness in

this case. The notes taken at a meeting between Garza and Plaintiffs’ representative (the “Garza

Notes”) are highly relevant, and Plaintiffs have not sufficiently demonstrated that any privilege

justifies withholding them.

       The parties attempted in good faith to resolve this discovery dispute through letters,

emails and phone calls. (See Affirmation of Sarah L. Cave in Support of Defendant’s Motion to

Compel (“Cave Aff.”) ¶¶ 4-5.) After the parties submitted letters to the Court setting forth their

respective positions, the Court directed the parties to submit briefs on whether the Garza Notes

are subject to discovery. (ECF Nos. 78 & 80.) Fraser now submits this memorandum in support

of his motion to compel production of the Garza Notes.
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                                   STATEMENT OF FACTS

       Plaintiffs are four traders and investors in cryptocurrency who purport to represent a class

of such traders and investors. In their original complaint filed in June 2016, Plaintiffs named

Garza as the principal defendant in this action, alleging that Garza and his two companies,

defendants GAW Miners, LLC and ZenMiner, LLC (the “Companies”), fraudulently sold

cryptocurrency products in violation of federal and state securities laws. (ECF No. 1.) Plaintiffs

alleged that Fraser controlled Garza and the Companies, and was secondarily liable for their

violations. (Id.) Neither Garza nor the Companies appeared or responded to the claims against

them; following Plaintiffs’ dismissal of Garza from this action, the Court entered default

judgments against the Companies. (ECF No. 71.)

       Garza was criminally charged for his cryptocurrency scheme involving the Companies

and pled guilty to the federal charge of wire fraud, admitting a scheme or artifice to defraud by

materially false and fraudulent pretenses. 1 He awaits sentencing. 2 The United States Securities

and Exchange Commission (“SEC”) also brought a civil enforcement action against Garza, in

which he invoked his Fifth Amendment right and did not provide any substantive testimony. 3 In

stark contrast, Fraser has not been criminally charged nor has the SEC brought any action against

him. (Cave Aff. ¶ 13.)

       In October 2016, one of Plaintiffs’ attorneys met with Garza and took detailed notes of

Garza’s statements concerning his culpability, the Companies’ role in perpetuating fraud



1. United States v. Garza, 17 Cr. 00158 (RNC) (D. Conn. filed July 20, 2017) (ECF No. 25).
   (See also Cave Aff. ¶ 3.)

2. Id. at ECF No. 30. (See also Cave Aff. ¶ 3.)

3. SEC v. Garza, 15 Civ. 01760 (JAM) (D. Conn. filed Dec. 1, 2015) (ECF No. 36). (See also
   Cave Aff. ¶ 2.)


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concerning cryptocurrency, and Fraser. Days later, on November 4, 2016, Plaintiffs amended

their complaint, dropping Garza as a defendant—presumably as a quid pro quo for his

cooperation with Plaintiffs—and adding allegations against Fraser based on statements Garza

apparently made during the October 2016 meeting with Plaintiffs’ representative. (See, e.g.,

First Am. Compl. ¶¶ 33, 34, 39-48, 50-59, 63, 67-70, 85, 86, 88, 91-93, 102, 128, 145.) For

example, in Paragraph 91—an entirely new paragraph not present in Plaintiffs’ original

Complaint—Plaintiffs allege factual details that Garza apparently provided them concerning

technical specifications in the Companies’ cryptocurrency operations and Garza’s meetings with

GAW Miners’ employees. (Id. ¶ 91.) This information is not contained in any documents or

other communications produced by Plaintiffs to date or otherwise available to Fraser—rather, it

is only available through Garza’s statements. Here, and throughout the Complaint, Plaintiffs rely

on factual assertions made by Garza to support their claims against Fraser. (See e.g., Id. at 2

(citing “discussions with Homero Joshua Garza” as a basis for Plaintiffs’ allegations).)

       Plaintiffs now refuse to produce the Garza Notes to Fraser, arguing that they are

protected by the work product doctrine. (See ECF No. 78; Cave Aff. ¶¶ 4-5.) In their privilege

log, however, Plaintiffs provide no detail about the Garza Notes, the subjects discussed or the

attendees of the meeting with Garza to support their claim that the Garza Notes are protected in

their entirety by the work product doctrine. Their privilege log also notes that, on November 8,

2016, one of the named plaintiffs, Allen Shinners, emailed a copy of the Garza Notes to a non-

party (Mark Munster), whose affiliation is not indicated. The entries on Plaintiffs’ privilege log

concerning the Garza Notes appear as follows: 4




4. Cave Aff. ¶ 6.


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                           CERTIFICATION OF CONSULTATION

       Pursuant to the Federal Rules of Civil Procedure and Local Rule 37(a), Fraser certifies

that he, through his attorneys, attempted in good faith to confer with Plaintiffs in an effort to

obtain the requested discovery without judicial action and to resolve the issue that this Motion

raises. Despite several calls and written communications to meet and confer regarding the Garza

Notes, the parties are unable to reach agreement on this issue. (Cave Aff. ¶¶ 4-5.) Because the

Garza Notes are unavailable to Fraser and contain factual material provided by Garza to

Plaintiffs, it is critical that the Garza Notes be produced.

                                       LEGAL ARGUMENT

       The burden of establishing that the Garza Notes are protected from discovery rests with

Plaintiffs, the parties asserting that privilege. See Mercator Corp. v. United States, 318 F.3d 379,

384 (2d Cir. 2002); Koumoulis v. Indep. Fin. Mktg. Grp., Inc., 295 F.R.D. 28, 39 (E.D.N.Y.

2013) (“[T]he party asserting the work-product privilege bears the heavy burden of establishing

its applicability.”). Here, Plaintiffs have not met their heavy burden of showing that the work

product doctrine applies to the Garza Notes. Even if the work product doctrine applied,

Plaintiffs waived any protection afforded by that doctrine by incorporating statements and

information Garza provided during the 2016 meeting into their pleading to support their claims




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against Fraser, thereby putting them directly “at issue.” Accordingly, the Court should compel

Plaintiffs to produce the Garza Notes to Fraser. 5

I.      The Work Product Doctrine Does Not Protect the Garza Notes From Discovery.

        A.      The Garza Notes contain factual material.

        The work product doctrine shields from disclosure certain documents and other materials

prepared in anticipation of litigation or trial by a party or a party’s representative unless there is a

showing of substantial need and the inability obtain the substantial equivalent without undue

hardship. Fed. R. Civ. P. 26(b)(3). But, not all notes generated by attorneys or their

representatives are shielded by the work product doctrine, which “does not protect from

disclosure the underlying facts known to the party or his counsel, even if acquired in anticipation

of litigation.” Veliotis v. Nawrocki, No. 98 Civ. 225 PCD, 1998 WL 1661398, at *3 (D. Conn.

Dec. 9, 1998) (requiring disclosure of attorney conversations with non-party witness concerning

underlying facts); see also In re Grand Jury Subpoena Dated July 6, 2005, 510 F.3d 180, 183

(2d Cir. 2007) (affirming District Court order requiring production of recordings created in

anticipation of litigation); In re John Doe Corp., 675 F.2d 482, 493 (2d Cir. 1982) (affirming an

order requiring disclosure of notes that “recite[d] in a paraphrased, abbreviated form, statements

by [a witness] . . .”). To the extent that the Garza Notes contain factual information revealed by

Garza, they are discoverable and Plaintiffs must produce them to Fraser. See Veliotis, 1998 WL

1661398, at *3.

        Plaintiffs have provided no information about the content of the Garza Notes, other than

that they are the handwritten notes created during a meeting between Garza and a representative



5. Plaintiffs may also have waived any work product privilege by sending the notes to a non-
   party. See Coastline Terminals of Connecticut, Inc. v. U.S. Steel Corp., 221 F.R.D. 14, 16–
   17 (D. Conn. 2003).


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of Plaintiffs. Accordingly, Plaintiffs have failed to carry their “heavy burden” to demonstrate

that the Garza Notes constitute undiscoverable work product. See In re Grand Jury Subpoena

Dated July 6, 2005, 510 F.3d at 183.

        B.      Fraser has a substantial need for the Garza Notes and cannot obtain them or
                their substantial equivalent without undue hardship.

        In addition, where, as here, the party requesting the documents, has a substantial need for

them, and is unable to obtain their substantial equivalent without undue hardship, discovery is

required. See Fed. R. Civ. P. 26(b)(3).

             1. Fraser has a substantial need for the Garza Notes.

        Fraser has a substantial need for the Garza Notes because they form the heart of the

claims Plaintiffs assert against him in the First Amended Complaint. Courts in the Second

Circuit have held that a substantial need exists where, as here, the documents sought “have a

unique value apart from those already in the movant’s possession.” In re Aggrenox Antitrust

Litig., No. 14 Civ. 00572 (SRU), 2017 WL 5885664, at *12 (D. Conn. Nov. 29, 2017) (internal

quotation marks omitted); see also S.E.C. v. Thrasher, No. 92 CIV. 6987 (JFK), 1995 WL

46681, at *8 (S.D.N.Y. Feb. 7, 1995) (movants had a “substantial need to learn what the

identified witnesses [had] told the Commission and would state under oath about their

knowledge of the movants’ role in the transmission and receipt of insider information”), aff’d,

No. 92 CIV. 6987 (JFK), 1995 WL 456402 (S.D.N.Y. Aug. 2, 1995). Here, Plaintiffs

acknowledge that their allegations against Fraser in the First Amended Complaint, which no

longer includes Garza as a defendant, are based directly on their discussions with Garza. (First

Am. Compl. at 2.) The Garza Notes thus have unique value and Fraser has a substantial need for

them.




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           2. Fraser cannot obtain the Garza Notes or their equivalent by any other
              means.

       Fraser cannot obtain the substantial equivalent of the Garza Notes by other means. Fraser

has twice unsuccessfully attempted to serve Garza with a document subpoena. (Cave Aff. ¶¶ 7-

9.) Fraser attempted to serve Garza at two addresses with which he was associated, first on May

1, 2018 at a Texas address and again on May 2, 2018 at a Vermont address, both without

success. (Id.) Fraser additionally asked Garza’s criminal counsel to accept service of a

subpoena on his behalf, again without success. (Cave Aff. ¶ 10.) Fraser also asked Plaintiffs

through interrogatories for Garza’s last known address; Plaintiffs have not yet responded. (Cave

Aff. ¶ 11.) Although Plaintiffs—who have access to Garza that Fraser does not—served Garza

with a deposition notice, no deposition date has been confirmed (Cave Aff. ¶ 12); it remains

uncertain whether Garza will provide substantive testimony, particularly in light of his prior

invocation of his Fifth Amendment rights in his SEC testimony. Because Garza has previously

invoked the Fifth Amendment and his deposition is uncertain, Fraser is unable to discover

Garza’s statements by any means other than by procuring the Garza Notes. See Thrasher, 1995

WL 46681, at *9 (the hardship prong is met “[w]hen a witness has previously invoked the Fifth

Amendment” unless there has been “a showing that he has subsequently changed his mind and

agreed to waive the privilege”).

                                   *   *     *       *    *      *

       Because Plaintiffs fail to demonstrate that the Garza Notes constitute work product, and

because the Garza Notes contain factual material critical to Fraser’s defense that cannot be

obtained by any other means, the Garza Notes are not protected from discovery by the work

product doctrine and the Court should direct Plaintiffs to produce them to Fraser. See Thrasher,




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1995 WL 46681, at *9 (requiring disclosure of attorney notes summarizing statements of

witnesses).

II.    Plaintiffs Waived Any Protection Afforded by the Work Product Doctrine.

       Even if the work product doctrine might have shielded the Garza Notes from discovery,

Plaintiffs waived any protection by incorporating into their First Amended Complaint the

information Garza provided to them during the 2016 meeting, thereby putting Garza’s statements

directly “at issue.” A party waives work product protection when putting otherwise-protected

information “at issue” or relying on it in a case. See Levy v. Young Adult Inst., No. 13 Civ.

02861 (JPO) (SN), 2015 WL 10891654, at *1 (S.D.N.Y. Dec. 14, 2015) (privilege waived by

putting otherwise-privileged documents “at issue”). Plaintiffs “cannot partially disclose

privileged communications or affirmatively rely on privileged communications to support [their]

claim . . . and then shield the underlying communications from scrutiny by the opposing party.”

In re Grand Jury Proceedings, 219 F.3d 175, 182 (2d Cir. 2000). Plaintiffs’ calculated decision

to include information provided by Garza in their First Amended Complaint waived any work

product protection that might have otherwise applied to the Garza Notes.

III.   An In Camera Review Is Appropriate.

       For the reasons stated above, the Court should order production of the Garza Notes.

Should the Court suspect that the work product doctrine may apply, however, it should examine

the Garza Notes in camera to determine whether they are discoverable even in redacted form.

See Gruss v. Zwirn, 296 F.R.D. 224, 231 (S.D.N.Y. 2013) (declining to rely exclusively on the

representations of counsel regarding the content of interview notes and ordering their production

for the court’s in camera inspection). Even in S.E.C. v. Nadel, which Plaintiffs have cited to

support the proposition that attorney interview notes are protected by the work product doctrine,




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the court first reviewed the documents in camera to determine the appropriate degree of

protection. No 11 Civ. 215 (WFK) (AKT), 2012 WL 1268297, at *7 (E.D.N.Y. Apr. 16, 2012).

                                          CONCLUSION

        The Court should compel Plaintiffs to produce the Garza Notes to Fraser because (i) the

underlying facts set forth in those notes are not protected, (ii) Fraser has a substantial need for

the information contained in those notes that cannot be satisfied elsewhere, and (iii) Plaintiffs put

the factual information in the Garza Notes “at issue” in their First Amended Complaint. In the

alternative, Plaintiffs should be compelled to submit the Garza Notes for an in camera review to

determine whether they are discoverable.

Dated: June 13, 2018

                                                       Respectfully submitted,

                                                       HUGHES HUBBARD & REED LLP

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